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 The Honorable Nicholas G. Garaufis
 United States District Court
 225 Cadman Plaza E
 Brooklyn, New York

 Re: State ofNew York et al v. Donald Trump et al, Case No. 17-cv-05228

 Dear Judge Garaufis

 In accordance with Local Rule 1.4, I am writing to inform the Court that I seek to withdraw my
 appearance on behalf of New York University - amicus curiae due to my departure from
 Proskauer Rose LLP (counsel for New York University - amicus curiae). New York University
 - amicus curiae will continue to be represented by Steven E. Obus for Proskauer Rose LLP
 whose appearance is on file with the Court.

 Thank you for your consideration.




 Respectfully submitted,

 Shiloh A. Rainwater




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